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 1   Tim A. Pori (SBN 189270)
     LAW OFFICES OF TIM A. PORI
 2   521 Georgia Street
     Vallejo, CA 94590
 3   Telephone: (707) 644-4004
 4   Attorney for Defendant AGUILAR LARA
 5
 6                           UNITED STATES DISTRICT COURT
 7                          EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                         Case No. CR-S-09-0358 WBS
10
                          Plaintiff,
11                                                     STIPULATION AND [PROPOSED]
     vs.                                               ORDER TO EXCLUDE TIME
12
     ERIK F. AGUILAR LARA, et al.,
13
                          Defendants.
14
     ________________________________/
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16
            The parties hereby stipulate that the status conference in this case be continued
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     from June 13, 2011, to July 25, 2011, at 8:30 a.m. The parties stipulate that the time
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     between June 13, 2011, and July 25, 2011, should be excluded from the calculation of
19
     time under the Speedy Trial Act. The parties stipulate that the ends of justice are served
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     by the Court excluding such time, so that counsel for the defendant may have reasonable
21
     time necessary for effective preparation, taking into account the exercise of due diligence.
22
     18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4. Specifically, counsel for defendants
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     needs additional time to review the discovery and investigate the case. Therefore the
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     parties have stipulated to continue the status conference in this case. The parties stipulate
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     and agree that the interests of justice served by granting this continuance outweigh the
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     ///
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28                                                 1
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 1   best interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161
 2   (h)(7)(A).
 3
 4                                             Respectfully submitted
 5
     Date: June 8, 2011                           /s/ Tim A. Pori
 6                                             TIM A. PORI
                                               Attorney for Defendant AGUILAR LARA
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 8
     Date: June 9, 2011                         /s/ Heiko Philipp Coppola
 9                                             HEIKO PHILIPP COPPOLA
                                               Assistant U.S. Attorney
10
11   Date: June 9, 2011                        /s/ Michael Petrik
                                               MICHAEL PETRIK
12                                             Attorney for Defendant JOSE ZAPIEN
13
     Date: June 9, 2011                         /s/ Gilbert Roque
14                                             GILBERT ROQUE
                                               Attorney for Defendant RAMIRO SUAREZ
15
16   Date: June 9, 2011                        /s/ Olaf Hedberg
                                               OLAF HEDBERG
17                                             Attorney for Defendant JOSE FERNANDEZ
18
     Date: June 9, 2011                          /s/ Clemente Jimenez
19                                             CLEMENTE JIMENEZ
                                               Attorney for Defendant JOSE GUTIERREZ
20
21   Date: June 9, 2011                        /s/ Christopher Cosca
                                               CHRISTOPHER COSCA
22                                             Attorney for Defendant ALEJANDRO
                                               GUTIERREZ
23
24   Date: June 9, 2011                        /s/ Ruben Munoz
                                               RUBEN MUNOZ
25                                             Attorney for Defendant ADOLFO ALVAREZ
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28                                                2
             Case 2:09-cr-00358-WBS Document 59 Filed 06/10/11 Page 3 of 3


 1
 2                                           ORDER
 3         IT IS HEREBY ORDERED that the Status Conference in the above-entitled
 4   matter is continued to July 25, 2011, at 8:30 a.m. before the Honorable William Shubb.
 5   DATED: June 9, 2011
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